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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                           Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                       DR. CRAIG WRIGHT’S MOTION TO SUPPLEMENT
                        THE COURT’S CIVIL JUROR QUESTIONNAIRE

         Dr. Craig Wright moves for an order supplementing the Court’s Juror Questionnaire in

  Civil Cases 1 with two additional questions set forth on the proposed questionnaire attached as

  Exhibit “B.” 2 In support of this motion, Dr. Wright states as follows:

                                         INTRODUCTION

         Dr. Wright seeks to supplement the Court’s existing juror questionnaire with two additional

  questions. The proposed questions concern sensitive subject matter and will provide the Court and

  counsel with essential information about prospective jurors’ ability to serve. In addition to

  attaching the proposed, supplemented questionnaire to this Motion as Exhibit B, on January 12,

  2021, undersigned counsel conferred with plaintiffs’ counsel, requesting their position on the use

  of the supplemental questions but plaintiffs’ counsel does not agree to the relief requested here.



  1
   A copy of the Court’s questionnaire is attached as Exhibit “A.” U.S. District Judge Beth Bloom,
  Juror Questionnaire in Civil Cases, https://www.flsd.uscourts.gov/sites/flsd/files/Judge-Bloom-
  Civil-Jury-Questionnairerev.-7.20.pdf.
  2
    Exhibit B contains 14 questions. Questions 1 through 12 are from the Court’s Juror Questionnaire
  in Civil Cases. Dr. Wright’s proposed questions are Questions 13 and 14 of Exhibit B.


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                                         APPLICABLE LAW

         Federal Rule of Civil Procedure 47(a) provides courts with broad discretion in conducting

  jury selection. E.g., Morrissey v. B.G. Danis Co., Inc., 1985 WL 13810, at *1 (6th Cir. 1985). “The

  court may permit the parties or their attorneys to examine prospective jurors or may itself do so.

  If the court examines the jurors, it must permit the parties or their attorneys to make any further

  inquiry it considers proper, or must itself ask any of their additional questions it considers

  proper.” Fed. R. Civ. P. 47(a). “When the trial judge conducts the voir dire, it must be conducted

  so competently, completely, and thoroughly that the prospective jurors' histories and personal

  prejudices are revealed.” Lips v. City of Hollywood, 350 Fed. Appx. 328, 338 (11th Cir. 2009).

         The right to trial by jury embodies the “right to present [one’s] case to neutral and detached

  observers capable of rendering a fair and impartial verdict.” Ham v. South Carolina, 409 U.S. 524,

  532 (1973) (Marshall, J., concurring and dissenting in part); Kiernan v. Van Schaik, 347 F.2d 775,

  778 (3d Cir. 1965) (“The right to an impartial jury in the federal courts in civil and criminal cases

  is guaranteed by the Constitution. . . . Amendment VII preserves ‘the right of trial by jury’ in civil

  cases, and although the impartiality of the jury is not expressly mentioned it is inherent in the right

  of trial by jury and is implicit in the requirement of the Fifth Amendment . . . .”).

         The right to an impartial jury includes the concomitant right to take reasonable steps to

  ensure that the jury is impartial. Ham. The jury challenge is important to ensuring impartiality,

  however, “the right to challenge has little meaning if it is unaccompanied by the right to ask

  relevant questions on voir dire upon which the challenge for cause can be predicated.” Id. (citation

  omitted); accord McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548, 554 (1984) (“Voir

  dire examination serves to protect [the right to an impartial trier of fact] by exposing possible

  biases, both known and unknown, on the part of potential jurors”).




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         In short, voir dire should elicit sufficient information to permit a party to “intelligently

  exercise both his for-cause and peremptory challenges.” United States v. Ochoa-Vasquez, 428 F.3d

  1015, 1036 (11th Cir. 2005) (citation omitted). Meaningful voir dire examination uncovers

  possible prejudice and bias of any juror so that a fair and impartial jury may be impaneled. See

  United States v. Ledee, 549 F.2d 990, 993 (5th Cir. 1977).

         Jurors often are unaware of their own prejudices and preconceptions, which they do not

  acknowledge when asked general questions on voir dire, including whether there are any reasons

  they cannot be fair and impartial. See United States v. Dennis, 339 U.S. 162, 183 (1950)

  (Frankfurter, J., dissenting) (“[O]ne cannot have confident knowledge of influences that may play

  and prey unconsciously upon judgment.”); United States v. Dellinger, 472 F.2d 340, 367 (7th Cir.

  1972) (“We do not believe that a prospective juror is so alert to his own prejudices” as to reveal

  prejudice in response to a general question. Thus, it is essential to explore the backgrounds and

  attitudes of the jurors to some extent in order to discover actual bias, or cause.”). The Eleventh

  Circuit has recognized that general inquiries often fail to reveal jurors’ unconscious or

  unacknowledged bias. United States v. Shavers, 615 F.2d 266, 268 (5th Cir. 1980) (district court’s

  voir dire questions were “too broad,” and such questions “might not reveal latent prejudice”).

         Written questionnaires are an effective and efficient tool for eliciting bias. In this case,

  reasons to use a supplemental written questionnaire include:

            Written questionnaires are more private and encourage honesty, particularly about

             sensitive issues involving bias and prejudice that are critical in this case;

            Written questionnaires reduce the influence of “evaluation anxiety,” which causes

             potential jurors to temper their voir dire answers because they know they are being

             evaluated by a federal judge and a courtroom full of lawyers;




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            Written responses are not influenced by answers given by other members of the venire;

            Written responses containing prejudicial information from one potential juror will not

             taint the entire jury pool as an oral response might;

            Written responses are not influenced by the characteristics or qualities of the

             interviewer;

            Written questionnaires provide more information, in less time, about each potential

             juror than can be elicited through live questioning;

            Written questionnaires streamline the jury selection process by allowing the court and

             counsel to focus more quickly in voir dire on areas of genuine concern.

  See Deborah L. Forman, What Difference Does It Make? Gender and Jury Selection, 2 UCLA

  WOMEN’S L.J. 35, 73 (1992) (citing to an empirical study, which found that “[t]he more jurors

  reported being anxious and tense, the more dishonest they said they were in their answers”); accord

  Lin S. Lilley, Let Jurors Speak the Truth, in Writing, 41-JUL TRIAL 64 (2005); American Bar

  Association Principles for Juries and Jury Trials, SL044 ALI-ABA 653 (2005), Principle 7

  Subsection A.5 3, Principle 11 Subsection A.1 (suggesting use, in appropriate cases, of a

  “specialized questionnaire addressing particular issues that may arise”); Valerie P. Hans & Alayna

  Jehle, Avoid Bald Men and People with Green Socks? Other Ways to Improve the Voir Dire

  Process in Jury Selection, 78 CHI.-KENT L. REV. 1179 (2003).




  3
    “Questionnaires permit jurors to reveal sensitive and personal information in their written
  responses, rather than publicly. Such techniques serve to alleviate some of the discomfort that
  prospective jurors would otherwise feel.” American Bar Association Principles for Juries and Jury
  Trials, SL044 ALI-ABA 653, 699 (2005) (citation omitted).


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                                             ARGUMENT

         I.      Dr. Wright’s Proposed Question Regarding Disability Will Allow Jurors to
                 Confidentially Address Sensitive Issues in Private, Facilitating Honest and
                 Candid Answers

         The Court and counsel have the delicate task of eliciting sufficient information about venire

  members’ opinions and experiences to determine whether those opinions or experiences will

  interfere with their impartiality, while also ensuring that individual prospective jurors’ opinions or

  biases do not affect or influence other prospective jurors. Asking questions about sensitive topics

  in open court runs the risk of tainting the entire jury pool and selection process. See United States

  v. Tegzes, 715 F.2d 505 (11th Cir. 1983) (assessing whether a prospective juror’s remark about

  seeing her son overdose as a teenager tainted the jury panel in a drug prosecution).

         On the other hand, presenting the issue as a written question will permit venire members

  to privately disclose intimate, sensitive facts and opinions about themselves, their families and

  friends, without fear of disclosing this private information to a large group of strangers. 4 Further,

  answering written questions in private will obviate the risk of venire members feeling any pressure

  to go along with the answers of other venire members, which is an inherent risk of raising these

  sensitive topics in open court. Prospective jurors must be able to disclose sensitive information

  freely, without shame or fear, so the Court can determine whether they hold biases that could

  interfere with their duty to render a fair and impartial verdict, or otherwise prevent them from

  serving on the jury. See Lowery v. City of Albuquerque, 2012 WL 1372273, at *5 (D.N.M. 2012).


  4
    To illustrate, the proposed additional questions include a question regarding prospective jurors’
  experiences with developmental disabilities such as Autism or Asperger’s Syndrome. These are
  inherently private and sensitive subjects for most people. It is important to address this issue with
  prospective jurors because “[u]nfortunately, misperceptions regarding individuals with autism
  often result in questions about their credibility as witnesses.” Carolyn Gammicchia and Catriona
  Johnson, Autism Information for Advocates, Attorneys, and Judges, LIVING WITH AUTISM,
  https://www.autism-society.org/wp-content/uploads/2014/04/Advocates_Attorneys_and_Judges.pdf.


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  The proposed question number 13 (set forth on Ex. B) has been crafted to confidentially reveal

  relevant aspects of potential jurors’ histories and prejudices in order to protect the right to an

  impartial jury.

         II.        Pretrial Publicity in This Case Supports a Supplemental Written Question

         The trial of a case that has attracted extensive pretrial media coverage, as has this one,

  requires a “careful and searching voir dire examination.” United States v. Lentz, 352 F. Supp. 2d

  718, 722 (E.D. Va. 2005) (citation and quotation omitted); ABC, Inc. v. Stewart, 360 F.3d 90, 94

  (2d Cir. 2004) (noting the district court’s use of a two-part voir-dire process that included the use

  of a lengthy juror questionnaire, in a case that had attracted a high level of media attention); United

  States v. Bieganowski, 313 F.3d 264, 273 (5th Cir. 2002) (The “adequacy of voir dire frequently

  arise[s] in situations where the trial is surrounded by significant publicity.”); United States v.

  Bobbitt, 2000 WL 102925, at *4 (4th Cir. 2000) (affirming trial court decision to ask “the entire

  venire a series of questions regarding pretrial publicity.”).

         In addition to Bitcoin’s abiding mystery and mystique to the general public (the citizens

  who comprise the venire), plaintiffs’ claims in this case involve the otherwise mythological

  question of Satoshi Nakamoto’s identity. This question has provoked and continues to provoke

  debate (and animus toward Dr. Wright). As Justice Sotomayor has observed, “the more intense the

  public’s antipathy toward a defendant, the more careful a court must be to prevent that sentiment

  from tainting the jury.” Skilling v. United States, 561 U.S. 358, 427 (2010) (Sotomayor, J.,

  concurring and dissenting in part). The proposed supplemental question will root out such

  antipathy without prejudicing other members of the venire or tainting it altogether.




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                                            CONCLUSION

         For the foregoing good and sufficient reasons, Dr. Wright respectfully requests that the

  Court grant this motion to supplement the Court’s civil juror questionnaire.

                               S.D. FLA. L.R. 7.1 CERTIFICATION

         In accordance with S.D. Fla. L.R. 7.1(a)(3), counsel for Dr. Wright has conferred with

  plaintiffs’ counsel. Plaintiffs have objected to the relief requested here.

                                                        Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

         I certify that on January 13, 2021, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.

                                                          /s/ Andres Rivero
                                                          ANDRES RIVERO



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